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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                   :
JESSE HAMMONS
                                   :

     v.                            :   Civil Action No.     DKC 20-2088

UNIVERSITY OF MARYLAND MEDICAL     :
SYSTEM CORPORATION, et al.
                                   :

                                 ORDER

     For the reasons stated in the foregoing Memorandum Opinion,

it is this 25th day of October, 2021, by the United States District

Court for the District of Maryland, ORDERED that:

     1.   The motion to reconsider, or in the alternative, certify

for interlocutory appeal filed by Plaintiff Jesse Hammons (ECF No.

56) BE, and the same hereby IS, DENIED; and

     2.   The clerk will transmit copies of the Memorandum Opinion

and this Order to counsel for the parties.



                                                 /s/
                                       DEBORAH K. CHASANOW
                                       United States District Judge
